


  PER CURIAM.
 

  Upon review of Appellant’s response to this court’s January 12, 2008 show cause order, Appellant’s appeal is DISMISSED for lack of jurisdiction.
  
   See
  
  Fla. R.App. P. 9.180(b)(1)(C);
  
   Sun Sentinel &amp; Tribune Co. v. Petrovich,
  
  744 So.2d 1056 (Fla. 1st DCA 1999);
  
   Landry v. AMS Staff Leasing,
  
  993 So.2d 1071, 1072 (Fla. 1st DCA 2008).
 

  VAN NORTWICK, PADOVANO, and CLARK, JJ., concur.
 
